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EXHIBIT
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Page 1

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

TINA MICHELLE BRAUNSTEIN,

- against -

SAHARA PLAZA, LLC, and THE

PLAZA
HOTEL,

Plaintiff,
HOTEL, a FAIRMONT MANAGED

Defendants.

-- 5-5 --- X

Case Action No:
1:16-cv-08879-VSB

EXAMINATION BEFORE
TRIAL OF:
TINA BRAUNSTEIN

 

Transcript of the stenographic notes of the

proceedings in the above-mentioned matter, as taken by

and before TONIANN ACQUARO,

a professional court

reporter and notary public within and for the State of

New York, held at the offices of Sills Cummins & Gross,

101 Park Avenue,

May 18,

Job No.

800-227-8440

New York, New York,

on Thursday,

2017, commencing at 10:18 in the morning.

NJ2602765

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973-410-4040
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1 APPEARANCES: 1 EXHIBITS CONTINUED
2 2 Exhibit 11 Three-page e-mail chain, Bates 8
RAISER & KENNIFF stamped P000134 to 135 and
3 3 P000143
Counsel for Plaintiff 4 Exhibit 12 . the Plaza 30 & 60 day 8
4 5 intro uctory TevVIew
87 vee Street Exhibit 13. E-mai! from Tina Braunstein 8
5 2nd Floor 6 dated January 9, 2015, Bates
‘ New York, New York 10013 stamped P000039
7
BY: E. GORDON HAESLOOP, ESQ. Exhibit 14. Two-page e-mail chain, Bates 8
7 (888) 504-5558 8 stamped P000 147
gordon@raiserkenniff.com 9 Exhibit 15 Two-pages of e-mails from 8
g Martin Mariano, dated
9 SILLS CUMMIS & GROSS, P.C. 10 January 12, 2015 and
10 Counsel for Defendants Hl January 25, 2015
il One Riverview Plaza
Exhibit 16 Two-page e-mail chain, Bates 8
b Newark, New Jersey 07102 12 stamped P000170 to 171
13. Exhibit 17 | Two e-mail chain fram Roberto 9
BY: DAVID ROSEN, ESQ. Rosa dated February 19, 2015,
3 (973) 643-7000 : | 14 forwarded to Evan Huat
drosen@sillscummis.com 15 Exhibit 18 E-mail from Martin Mariano 9
l4 dated February 20, 2015
| 15 16
ALSO PRESENT: Exhibit 19 | E-mail chain from Roberto Rosa 9
16 17 dated February 21, 2015
Gregg Holderman, Videographer, 18 Exhibit 20 Letter from Tina Braunstein 9
17 Veritext Legal Solutions 19 dated March 17, 2015
18 Ki W 6 C te Ri tative, ae
am Teta Se ——_ 20 Exhibit 21 | Marked but not used 9
7 Exhibit 22 Marked but not used 9
20 21
21 Exhibit 23. E-mail from Martin Mariano, 206
22 22 dated January 12, 2015
23 23 (Exhibits retained by Mr. Rosen.)
| 24 24
25 25
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2 WITNESS EXAMINATION BY PAGE 2 INFORMATION REQUESTED PAGE
3 TINABRAUNSTEIN MR. ROSEN ul . . : : .
4 3 Any social medical postings of information 25
5 related to the lawsuit
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ropin,
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10 Case No. 07-CV-3391 7 +
11 Exhibit3 Offer letter from The Plaza 7 9 Screen shots of text messages related to 84
dated October 21, 2014, Bates employment at The Plaza Hotel
12 stamped P0003 to P00007 10
13° Exhibit ‘ Job description, Palm Court 7 Text messages post-date your employment at 85
artender, Bates stamped
i4 P000027 to 28 11 The Plaza
15 Exhibit S Handwritten journal, Bates 7 12 Start and end date for James Restaurant 253
stamped PO0G193 to 279 13. 2015 dated worked for Bespoke Libations 254
16
Exhibit 6 E-mail chain, November 10, 7 i
7 2014, Bates stamped P000159
18 Exhibit 7 E-mail chain, December 8, 7 16
2014, Bates stamped P000140 to 17
19 POOO141 18
20 Exhibit8 One-page document entitled 7 19
Meeting with Edmund,
21 December 10, 2014 20
22 Exhibit9 Two-page e-mail chain from = 8 21
Johan Widnersson, 22
23 December 13, 2014 23
24 Exhibit 10 Document entitled Meeting with 8
| Tina Braunstein and delegate, 24
25 December 18, 2014 25
2 (Pages 2 - 5)

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1 A. Correct. 1 anaction that occurred to you?
2 Q. In fact, there were at least two other 2 A. First of all, being called a bitch.
3 employers who terminated you; am I right? 3 Q. I know you have given that answer. Are |
| 4 A. Yes. 4 there others?
5 Q. You were previously employed by a company 5 MR. HAESLOOP: Throughout her
6 by the name of Blue Hill At Stone Barns; am I right? 6 career or --
7 A. Yes. 7 MR. ROSEN: Counsel.
8 Q. Do you remember what years you worked 8 MR. HAESLOOP: -- with
9 there? 9 respect to this?
| 10 A. 2003 to 2004. 10 MR. ROSEN: Okay, so --
| 11 Q. And you were fired by Blue Hill at Stone 11 MR. HAESLOOP: Please give it
12 Barns; is that correct? 12 a time, because it's very broad.
| 13 A. Yes. 13 MR. ROSEN: | am going to
14 Q. What reasons were given to you for your 14 again ask you not to give speaking
15 dismissal? 15 objections because it violates the
16 A. That went to trial and I am under -- 16 court rules.
17 MR. HAESLOOP: That's not the 17 I will remind the witness, if
18 question. 18 at any time you don't understand the
19 A, I'm sorry, can you repeat the question? 19 question, you should tell me that
20 Q. Ofcourse. What reasons were you given 20 and I will rephrase it, fair?
21 for your dismissal by Blue Hilt at Stone Barns? 21 A. Yes,
22 A. The general manager Philippe Gouze called 22 Q. Okay. So let's try this again. The
23. mea bitch. 23 question concerned your -- and I am not going to use
24 Q. And did you find that offensive? 24 your professional -- your business history. My
25 A. Absolutely. 25 question was can you give me any other examples of
Page 27 Page 29
1 Q. Did you find the comment to be 1 actions taken by men towards you that you regarded as
2 misogynistic? 2 being misogynistic?
3 A. Absolutely. 3 A. Speaking over me.
4 Q. When you use the word misogynistic, what 4 Q. What does that mean?
| § do you mean by that word? 5 A. Interrupting.
6 A. Something that a man would use 6 Q. Can you explain how doing so is |
7 specifically towards a woman to put her down that he 7 misogynistic in your mind?
8 would not use towards another man. 8 A. They don't do that to other men.
| 9 Q. So when you are using it are you referring 9 Q. Who doesn't do that to other men, when you
10 toacomment made or is it broader than that? 10 say they?
11 A. It can be broader than that. 11 A. Whomever we are referring to.
| 12 Q. Okay. And I'm asking you in terms of how 12 Q. Okay. Soa -- just so I understand how
| 13 you use it when you describe a person as being 13. you use the expression, if a male speaks over you or
14 misogynistic, have you described a person as being 14 interrupts you, it's misogynistic in your mind if that
15 misogynistic based on something other than comments 15 person would not have done so towards another man?
16 made? 16 A. It could be.
17 A. Actions. 17 Q. Any other actions that you can give
18 Q. Okay. Such as? 18 examples of that have occurred to you that you consider
19 A. How they treat someone. 19 to be misogynistic?
20 Q. Can you be more persist -- precise? 20 A. Having my schedule changed without reason.
21 A. To treat a male different than a female. 21 Q. Can you explain how that is misogynistic?
22 Q. Has that occurred in your professional 22 A. Specifically speaking about The Plaza,
23° iTile? 23 they changed my schedule. They wanted to accommodate
24 A. Absolutely. 24 James, midnights.
25 Q. Okay. Can you give me an example of such 25 Q. Just so I understand, they changed your

 

 

8 (Pages 26 - 29)
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schedule to accommodate another employee and that ; | Q. So is it your testimony that this, in your
employee happens to be male. In your mind that is | 2 experience, is a problem in this industry, what you
misogynistic? 3 just described?

A. With everything else that was going on, 4 A. Yes.
it's cumulative, yes. 5 Q. And can you give me some other examples of
Q. Can you give me any other examples of 6 where men engaged in this type of action?
actions against you? You don't have to limit yourself 7 A. Atnumerous employments that I had.
to The Plaza. 8 Q. Understood. So can you give me some
A. Well -- 9 examples and where that occurred? Any that you can
Q. Iam just trying to get a better 10 recall.
understanding. I said this because I believe, and 11 A. At Manzanilla Restaurant, Rick Pitcher was
correct me if 1 am mistaken, that the word 12 the general manager/sommelier, he often ran to the male
"misogynistic" is one that you use with a reasonable 13 bartenders with issues.
amount of frequency; is that so? 14 Q. When did you work at that restaurant?
A. No. 15 A. I would have to look at my resume to
Q. We'll circle back to that. But can you | 16 refresh my memory.
think cf any other examples of -- 17 Q. Was it before or after your employment at
A. Twas. 18 The Plaza?
Q. -- conduct by or actions taken by a male 1 A. Before.
during the course of your career -- 20 Q. When this occurred to you, what, if
A. Well, I-- 21 anything, did you do about it?
Q.  -- that you regarded as being 22 A. Well, I tried speaking to Rick about it.
misogynistic? 23 Q. Did you do so?
A. Absolutely. When I was at The Plaza, a 24 A. Absolutely,
great example was when he left me out of the final 25 Q. And what did you say and what did he say?

Page 31 Page 33
tip-out meeting. The three male bartenders were 1 A. I don't remember the exact words.
invited to it, Marty, the head of food and beverage 2 Q. [understand you don't remember the exact
called this meeting. Marty called Harry Riker, the 3 words, but maybe you can share with us as best you can
union representative for the hotel at Union 6, Trevor 4 the substance of what the conversation was?

Sherman was called in for this, Amin was called in for 5 A. To let him know that I felt left out and
it. And Yohan was called in for it. Every one of | 6 if there was anything going on in my performance that
them, men, made it to that meeting and they forget to 7 would make him do that.
invite me. 8 Q. And do you recall how he responded?
Q. And you consider that misogynistic? 9 A, He feit he didn't mean to do that. He
A. Absolutely. 10 recognized that he was going to the men and leaving me
Q. Any other examples you can give us? 11 out when I pointed it. And he apologized and he said
Things that occurred to you that you regarded as 12 he would try to do better. And he thought I was doing
misogynistic? 13 a fantastic job.
A. Male managers in this industry have a 14 Q. You previously were you employed by a
habit of going to male bartenders when there is an 15 restaurant by the name of Telepan; am I correct?
issue and they will leave out the women behind the bar 16 A. Correct.
to these conversations. 17 Q. That's T-e-l-e-p-a-n.
Q. When you say "this industry," what do you 18 A. Yes.
consider to be this industry? 19 Q. And when did you work for Telepan
A. My industry, the restaurant industry. 20 restaurant?
MR. ROSEN: Would you kindly 21 A. I don’t remember the dates.
read back the question and answer 22 Q. Was it before or after you worked for Blue
for us? 23 Hill at Stone Barns?
(The last question and answer were read 24 A. After.
back.)

 

No
nA

Q. And you were terminated by Telepan |

 

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Restaurant were you not? J A. I believe four to five months.
A. Correct. | 2 Q. Do you still have that e-mail?
Q. And what reasons were you given for your 3 A. Possibly.
termination by Telepan? 4 Q. Okay. I'm going to ask you at the return |
A. That my former chef Dan Barber came into 5 of this examination to make a search for that e-mail
the restaurant to dine with Bill Nyman. He is a 6 and if you find it, to please provide it to your
purveyor of high-end beef. And after they dined at the 7 counsel so that he can provide it to me. Will you do
restaurant, they realized I was working at the bar. 8 so?
Nyman wrote a letter to Bill, um, trashing me. 9 A, Absolutely.
Q. And was that the reason you were told you 10 Q. Why do you believe you were fired by City
were fired or was that the reason you believe you were 11 Winery?
fired? 12 A. Iwas one of three fired in maybe a
A. No, that's what Bill Telepan told me, he 13 month's time. The three of us were all much older than
received an e-mail. 14 the rest of the staff and much more experienced. We
Q. Did you see the e-mail? 15 were all over the age of forty. The restaurant was
A. No. 16 brand new, we helped set it up. And then in a very
Q. And did you consider that dismissal | 17 fast sequence we were all fired.
unfair? | 18 Q. So at the risk of putting words in your
A. Absolutely. 19 mouth which is not my intent, you believe that you were
Q. Did you consider that action misogynistic? 20 discriminated against on a account of your age, that
A. No. | 21 that was the reason why you were dismissed?
Q. Did you consider anything that occurred to 22 A. The three of us believed so,
you while you were at the Telepan Restaurant to be 23 Q. Did you file a charge of discrimination
misogynistic? 24 against City Winery?
A. No. 25 A. I don't believe so.
Page 35 Page 37
Q. Have you been terminated by any other 1 Q. Did you bring a lawsuit against City
employer other than the two that I've just mentioned? 2 Winery related to your loss of your employment?
A. Iwas fired from City Winery. 3 A. No.
Q. When? 4 Q. Can you tell why you didn't sue them if
A. I don't remember when I worked there. 5 you felt that your age was a factor in the job loss?
Q. Were you fired by City Winery before or 6 A, Myself, Vincent and Chris, Chris is a
after your employment at The Plaza? 7 male, the three of us went to see my former attorney,
A. Before, 8 Maimon Kirschenbaum, who represented me in Blue Hill at
Q. Were you fired by City Winery before or 9 Stone Barns I remember we had a meeting with him asking
after your employment at Telepan? 10 him questions about the age issue. And then the three
A. After. 11 of us went out to lunch after and I don't remember why
Q. So if] understand then, understanding the 12 it went any further.
best of your recollection in terms of the sequence of 13 Q. Have you been terminated by any other
employment engagement that resulted in your dismissal, | 14 employer other than Blue Hill at Stone Barns,
you first worked at Blue Hill at Stone Barns. Your 115  Telepan --
employment with Telepan was after that employment, yout 16 THE COURT REPORTER: Sorry.
employment at City Winery was after your employment at| 17 Q. -- City Winery and The Plaza?

Telepan, your employment at The Plaza was after your 18
employment with City Winery; am I correct? 19
A. Correct. 20
Q. And what reasons were you given for your 21
dismissal by City Winery? 22
A. 1 wasn't given a reason. | was sent an 23
e-mail that I was fired, if I remember correctly. 24
Q. How iong did you work there? | 25

A. Notto my recollection at this time.

Q.

deposition, I'm sorry, you recall the names of other

If during the course of this depisation --

employers that you worked for that subsequently
terminated your employment, would you kindly let us
know?

A. Absolutely.

Q. Is it possible that there may be more than

 

 

 

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1 four and that you simply don't recall them at this 1 A. I believe so, yes.
2 time? 2 Q. And can you tell me what reason you were
3 A. Possibly, but I'm not sure. 3 given for being terminated by Jams Restaurant?
4 Q. Would they have occurred to the best of 4 A. During the training period, the general
5 your memory before or after your employment at Blue 5 manager Carolyn, | believe her name was, she said that
6 Stone? 6 we had to be there at 5:00 in the morning, that was a
7 A. Blue Hill at Stone Barns. 7 start time, And they didn't tell us this during the
8 Q. Thank you. Blue Hill at Stone Barns. 8 hiring period or during the beginning of training but
9 A. Very long time before. 9 all ofa sudden they made that a requirement.
10 Q. Would you have also been working in a 10 So I spoke to Carolyn and | asked her,
11 bartender capacity or some other capacity -- that's a 11 well, what if you close at night, by the time I get
12 compound question. 12 home on a train, I'm going to have an hour to sleep
13 Would you have also been working at that 13 before getting up to shower to come back. And I asked
| 14 time in the capacity of a bartender? 14 her are they going to not put us back-to-back schedules
15 A. I don't remember. 15 {ike that. And she said she couldn't guarantee it.
| 16 Q. And just so that I can be certain that 16 And I said just because there is a chance that I have
17 this is clear, when you worked at Blue Hill at Stone 17 to close the bar and turn around and reopen it at 5
18 Barns were you, in fact, employed as a bartender? 18 a.m., I said, this wasn't what I signed up for. So
19 A. Yes. 19 because of that she said I couldn't work there.
| 20 Q. And when you were employed at Telepan, 20 Q. So during the period of 2003 to 2015, you
21 were you, in fact, employed as a bartender? 21 were actually terminated five times, correct?
22 A. Yes. 22 A. I'm sorry, could you say that again?
23 Q. When you were employed at City Winery, 23 Q. Ofcourse, Between 2003 and 2015, you
24 were you employed as a bartender? 24 were actual terminated by five different employers?
25 A. Yes. 25 A. That sounds correct.
Page 39 Page 41
1 Q. And when you were employed at The Plaza in 1 Q. Is there a possibility that there might be
2 the Palm Terrace. were you also employed as a 2 one or more others that you just can't recall right
3 bartender? 3 now?
4 A. Inthe Palm Court, yes. 4 A. I don't believe so.
5 Q. So am I correct that to the best of your 5 Q. Same instructions | give yau before, if
6 memory as you are sitting here today, between 6 yourecall any other names, would you let me know and I
7 approximately 2003 and 2015, the span of approximately | 7 will ask you some questions about that, okay?
8 12 years, you were terminated four different times? 8 A. Absolutely.
9 A. No, because I just remembered one. 9 Q. Now, I'd like to show you a document that
10 Q. Which one was that? 10 we've premarked for identification as Defendant's
11 A. After The Plaza. 11 Exhibit 1.
| 12 Q. And which -- where did you work after The 12 I'm going to ask you to take a moment to
13 Plaza? This is another one that you got terminated by? 13 look at it and when you are done doing so, I have some
14 A, Yes. 14 questions for you.
15 Q. Okay. And what was the name of that 15 MR. ROSEN: Here is an extra
16 employer? 16 copy.
17 A. Jams Restaurant in Hotel 1. 17 MR, HAESLOOP: Oh, you are so
18 Q. Do you remember when you worked there? 18 kind.
19 A. It was during the training period. I 19 Have you read it?
20 don't remember. 20 Q. Are you finished doing so?
21 Q. Would it have been the same year you were 21 A. Yes.
22 terminated at The Plaza? 22 Q. Are you ready for a question?
23 A. Yes. 23 A. Yes.
24 Q. So that would have been 2015; am I 24 Q. So this is the lawsuit, is it not, that
25 correct? | 25 you filed again Blue Hill at Stone Barns after your

 

 

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1 charge? 1 Let me be more precise for you. You
2 A. Acker, Merral & Condit, I believe. 2 stated you were retaliated against?
3 Q. That's -- 3 A. Uh-hmm.
4 A. A-c-k-e-r; Merral, M-e-r-r-e-] and Condit, 4 Q. You were retaliated against for having
5 C-o-n-d-i-t, I believe. 5 done what?
6 Q. Is Acker, Merral & Condit a former 6 A. First of all, for being a victim in that
7 employer of yours? 7 case. And besides cutting my hours, they eventually
8 A. Yes. 8 did let me go, although they were talking to me about
9 Q. And when did you work on the Acker, Merral 9 keeping me on. And even The Plaza, in my paperwork
10 and Condit? 10 with them, you will see a stellar recommendation from
ll A. For the holiday season I did wine and | 11 amanager there. So I did a phenomenal job.
12 spirit sales I believe three years ago. i2 Q. Tappreciate your sharing that with us,
13 Q. Was this before or after your employment 13 except I hadn't asked for that. And I want to
14 at The Plaza? 14 commend you so far for sticking to the questions that
| 15 A. Before. 15. I've asked, and I will ask you on a going-forward basis
16 Q. Was it before or after your employment 16 to continue to do your best to answer the questions
17 with City Winery? 17 that I ask,
18 A. After. 18 So what [ am going to ask you to do is
19 Q. And were you terminated by that employer? 19 please read back the question I asked followed by the
20 A. Iwas let go because it was post-hcliday 20 answer.
21 season, 21 (The last question and answer were read
22 Q. But your employment was ended 22 back.)
23 involuntarily; is that a fair statement? 23 Q. So let me try asking the question again.
24 A. That's fair. 24 Maybe you didn't understand the question.
25 Q. And what was the nature of your i) Usually when you accuse an employer of
Page 63 Page 65
1 retaliation charge? | 1. retaliation, it's because you have complained about
2 A. lLwent to the EEOC because I was sexually) 2 something and as a result of that, you may allege that
3 groped by a male employee. He grabbed my breast.) 3 somehow you suffered retaliation as a result of your
4 Q. Do you still have a copy of yourEEOC | 4 complaint. So my question is: Was there a complaint
5 papers in that case? 5 that you made that you claim resulted in the
6 A. I don't believe so. 6 retaliation against you that you've already testified
7 Q. Do you know who would have it -- have 7 about?
8 them? 8 A. Maybe I'm not understanding the question.
9 A. The EEOC, 9 Q. Okay. So you can ask me what it is about
10 Q. Were you represented by an attorney at 10 the question you don't understand or tell what it is.
il that time? 11 A. What I believe is that I already answered
12 A. No. 12 it by saying that first of all they cut my hours --
13 Q. Can you tell me which office of the EEOC | 13 Q. No, you are telling us --
14 you filed the charge with? 14 MR. HAESLOOP: No, that's the
15 A. The one in Manhattan. | 15 result.
16 Q. And what was the nature of the retaliation | 16 Q. You are telling us the form the
17 that you complained about in that case? 17 retaliation took.
18 A. How the establishment and their attorneys | 18 A. Right.
19 who were on premises, how they handled it. 19 Q. My question was why -- what did you claim
20 Q. Can you explain what that means? 20 was the reason why they did this to you? Does that
21 A. They kept the male employee and they cut | 21 help you understand what I'm asking?
22 my hours to keep us separate so we wouldn't have to 22 A. No.
23 work together. 23 Q. Allright, I will keep trying. I'm very
24 Q. Okay. And what did you claim that was | 24 patient.
what had caused that? 25

| 25°

 

 

So your employer cuts your hours.

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| 1 A. Okay. 1 A. Yes.
2 Q. In describing yourself to others, would it 2 Q. And the date of the letter is
3 be fair to say to describe you as a person having a 3 October 21, 2014, and it mentions in the opening
4 strong personality? 4 paragraph that your employment will become effective on
5 A. Yes. 5 October 27, 2014; am I correct?
6 Q. Would you consider yourself as having a 6 A, Yes.
7 personality that others sometimes find offensive? 7 Q. And this is, to your recollection, is that
8 A. I'm sure occasionally. 8 approximately when you started working there? |
9 Q. Do you consider yourself someone who is 9 A. Correct.
10 difficult to work with? | 10 Q. And you held a bartender position in the
11 A. Absolutely not. 11 Palm Court, correct?
12 Q. Okay. Have there been occasions when you 12 A. Correct.
| 13 have had arguments or disagreements with co-workers 13 Q. When you started working in the Palm Court
14 while you were at work? 14 what was your normal work schedule?
| 15 MR. HAESLOOP: Objection to 15 A. Well, at first it varied for quite a while
16 form, If you can break it down. 16 because we were in training mode. So on October 27, we
17 A. I'm sorry, can you repeat the question? 17 met and we started to go behind the bar, make cocktails
18 MR. ROSEN: Sure. Would you 18 with Brain Van Flandern, who was the bar consultant.
19 repeat it, please? 19 MR. ROSEN: May we go off the
20 THE COURT REPORTER: Yes, I 20 record, please?
21 can. 21 THE VIDEOGRAPHER: We are now
22 (The last question was read back.) 22 off the record. The time on the
23 A. [have had disagreements with co-workers, 23 video monitor is 12:25 p.m.
24 absolutely. Arguments, I'm sure they happened. 24 (Off the record.)
| 25 Q. Have you used profanity when you have had 25 THE VIDEOGRAPHER: We are now
Page 87 Page 89
1 disagreements with your co-workers? 1 on the record. The time on the |
2 A. No. 2 video monitor is 12:26 p.m.
3 Q. Would you describe yourself as someone who 3 A. Can I just -- I'm sorry -- correct
4 has an edge in your voice? 4 something of what we said a moment again that was
5 MR. HAESLOOP: Objection. 5 bothering me because you said that I have an edge in my
6 You can answer. 6 voice and that wasn't the conversation with Marty. It
7 A. I'm sure at times, yes. 7 was that 1 have an edge, period.
8 Q. In fact, you have actually used those very 8 Q. Actually, if we went back, I didn't say
9 words, have you not, to describe your voice? 9 you had an edge. I asked you whether you had ever
10 A. Yes. 10 described yourself as someone having an edge in your
il Q. In fact, you have used those very words in 11 voice, And the answer was yes, correct?
12 one of your conversations with one of your managers at | 12 A. Correct.
13 The Plaza, is that so? 13 Q. And you are the one that testified that
14 A. With Marty, correct. 14 that came up during a conversation with Marty; am I
15 Q. Okay. I'd look to show you a document 15 right?
16 that has been premarked for identification as 16 A. Yes.
17. Defendant's Exhibit 3. Take a moment to review it. 17 Q. But you are telling us that that's not
18 MR. ROSEN: Here is your 18 where it came up?
19 copy -- sorry. 19 A. No, it was. He said to me in that
20 MR. HAESLOOP: That's okay. 20 conversation -- or I said to him in that conversation
21 1 dropped it. 21 that fam someone with an edge. It wasn't about my
22 Q. Are you finished reviewing it? 22 voice. It was about a personality.
23 A. Yes. 23 Q. That was one of the conversations that you
24 Q. This is the offer of employment that you 24 recorded; isn't that right?
received from The Plaza Hotel, am I correct? 25

25

 

A. Correct. |

 

 

23 (Pages 86 - 89)

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1 A. Yes. 1 least seven times in that meeting that he wanted to
2 Q. And you were all hired as bartenders? 2 have two separate meetings, one with the bartenders and
| 3 A. Yes. | 3. one with the servers and then a third for all of us to
4 Q. And your job duties were fundamentally the 4 sit down together, that he never came through with
5 same? 5 that.
6 A. Yes. 6 Q. Did you believe that he intentionally lied
7 Q. And neither of you was the supervisor of 7 about that?
8 any other in that four; am I correct? 8 A, Idon't know.
9 A. Correct. 9 Q. Same question. Did he ever say or do
10 MR. ROSEN: I will take back 10 anything else to you that caused you to question his
11 Defendant's 3, the one that's got 11 honesty?
12 the label, I'm sorry. 12 A. I'm not sure.
13 Q. I'm going to go through a list of names 13 Q. Did he ever say or do anything to you that
14 with you. I believe that these are all people with 14 you regarded as misogynistic?
15 whom you worked at some point in time at the hotel, or 15 A. When he referred to me as a bitch and he
16 if you did not work directly with them, came in contact 16 spelled it out in our meeting.
17 with at the hotel at some point in time, correct -- not 17 Q. Spelling out like b-i-t-c-h?
18 correct, but that's what I plan to do. All right? 18 A. Correct.
19 A, Okay. 19 Q. And that was one of the meetings that you
20 Q. The first name J want to ask you about is 20 had with him at what point in time? We will get to the
21 Martin, also known as Marty, Mariano. Was he a person | 21 meeting but I just want to get to the time frame,
22 who also worked in the Palm Court? | 22 A. That's the meeting we had after my review. |
23 A. Yes. 23 Q. Is that one of the meetings that was
| 24 Q. And what was his position? 24 recorded?
25 A. He is the head of food and beverage. 25 A. Correct.
Page 95 Page 97
1 Q. Was he your direct supervisor? 1 Q. And was the fact that he used the word, or
2 A. No. 2 the context in which he used it that you regarded to be
3 Q. Who was your direct supervisor? 3 misogynistic?
4 A. Johan. 4 A, Both.
5 Q. Is that a person whose last name is 5 Q. Can you help me better understand what it
6 Widnersson? 6 was about his use of the word that you regarded as
7 A. Correct. 7 misogynistic?
8 Q. How would you characterize your working 8 A. Referring to a female as a bitch, I find
9 relationship with Marty Mariano? 9 to be misogynistic, that he also referred to Cecelia,
10 A. Good. | 10 one of the servers in that interview as being
11 Q. Did he ever say or do anything to you that | 11. difficult, I believe that's the word he used, in a
12 caused you to question his honesty? 12 negative way or she was a pain in his ass, I even think
13 A. Iwas concerned when he promised us in a 13 he said that. But he also referenced Roberto in this
14 meeting, the bartenders and the servers, the cocktail 14 conversation and he made it more that Roberto was very
15 servers, early on that he was going to get us a bar 15 precise in his bartending and passionate, but,
16 back or even -- or a runner or one person to be a bar 16 meanwhile, the females, one was a bitch and the other
17 back and runner to help the whole floor. And that he 17. was a pain in the ass.
18 never came through with that. 18 Q. Did you come to a conclusion then or at
19 Q. Do you think he deliberately lied about 19 any time that Mr. Mariano viewed men more favorably
20 that? 20 than women as employees?
21 A. I don't know. 21 A. It appeared to be.
22 Q. Is there anything else that you can recall 22 Q. Did you ever ask him about that or did --
23 that Mr, Mariano said or did to you that caused you to | 23 no, better -- withdrawn.
24 question his honesty? 24 Did you ever accuse him of being so biased
25 A. After we had our meeting and he said at 25 towards -- biased against female employees? |

 

25 (Pages 94 - 97)

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A. I don't believe so.

Q. The next name I want to ask you about
is -- and I may be pronouncing it incorrectly so feel
free to correct me -- is Amin Deroui?

A. Amin is his first name. | think it's
Deroui is the last; I'm not sure.

Q. Thank you.

Was he also an employee at the Palm Court?

A. Yes.

Q. What was his position?

A. I believe it to be a floor manager.

Q. Did he manage you -- withdrawn.
Did you report to him?

A. Not directly. Johan was our first point,
but if Johan was not available or if Johan was off,
then you would go to Amin.

Q. Based on your understanding of the
reporting structure in the Palm Court at that time, did
Amin report to Johan? Did Johan report to Amin or
neither?

A. I believe neither.

Q. But they both in turn reported to
Mr. Mariano?

A. I believe so.

Q. Did Amin ever say or do anything to you

that caused you to question his honesty?

A. Yes.

Q. Okay. Can you describe what it was?

A. Trecall once he told us at 10:45 p.m. as
we were winding down, it was pretty slow, that we now
have to stay open until midnight.

Q. Was he referring to that day or just
generally?

A. Generally, from now moving forward. And I
tried to have a discussion with him why we were being
told at that late hour, at what time did you find out
and how did you find out. We asked -- and I wasn't the
only one, the bar team was there that night -- we were
trying to find out what was happening and he wasn't
giving us a direct answer.

Q. Okay, but help me understand how that
occurrence caused you to question his honesty.

A. Because he wasn't giving us a direct
answer and I feel it's a really easy direct question.

Who made this call, first of all, that we were going to
be opened until midnight?

Q. Right.

A. As well as what time did he find this out
and why are we learning about it at 10:45 p.m. when we
normally closed at 11:00?

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Q. Okay. And did he give what you considered
to be a dishonest answer?
A. Well, at first, he didn't answer at all.
Q. That's right. So what is it that he said
that was a dishonest answer, if anything?
A. He was at first saying J don't know.
Q. And you consider that to be dishonest
because you thought he did know?
A. Correct.
Q. Do you, in fact, know whether he knew?
A.
him.
Q. Anything else that he said either then or
subsequently learned was dishonest?

Yes, because we eventually got it out of

A. Yes, at one point he denied to me ever
hearing that Roberto was slow in his job. Meanwhile,
James always said to Amin, right to Amin with me as a
witness, that Roberto needs to pick it up, he is very
slow, as well as the fact that our one and only bar
meeting in January, that Amin wasn't at, just Johan and
the four bartenders, Johan said to Roberto, you are too
slow to work the main bar, I need you to work service.

Q. And it's your testimony that Amin denied
having heard that and that denial was dishonest?

A. Absolutely.

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Q. Is there anything else that Amin said or
did that caused you to question his honesty?

A. Ican't recall in this moment,
specifically honesty.

Q. Okay. If during the course of the
deposition, you can recall, just let me know and I
would be happy to let you answer.

Did Amin ever say or do anything to you
that you regarded to be misogynistic?

A. Oh, absolutely.

Q. Can you give us some examples?

A. He called mea bitch on at least a couple
of occasions, He referred to me as a baby, as in grow
up and stop being such a baby. He referred to me as a
bar back.

Q. That's just a person who supports a
bartender, correct?

A. Correct.

Q. So you viewed that as a misogynistic
comment?

A. It was an inappropriate comment to put me
down in that moment. He made a comment about Jews
owning the banks and the media.

Q. That didn't making him misogynistic, that
made him anti-Semitic, right?

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that he knew were not true; is that what you mean by

Q. So ifhe put things in a review that was
his assessment of you, and you just don't view yourself
that way and disagree with his assessment, what is it
about his assessment that you regarded as dishonest?

A. That he couldn't explain or would not

Q. Okay. What ifhe just didn't think he had

A. I don't understand how someone can give
negative, it seems as a bar manager that would be your

Q. At least that's your perception of what a

Q. Did Johan Widnersson ever say or do
anything else to you that caused you to question his |

A. Idon't recall at that moment specifically

Q. Did Mr. Widnersson ever say or do anything
to you that caused you to view him as misogynistic?

 

 

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A. Absolutely. He would pass over me and
look to James when he needed something. If] said
something specific like the sky is blue, he would argue
with me. If James said the sky is blue, end of story.

Q. And you feel that the only reason why he
argued with you was because you were female and James

Q. Any other examples of, in your experience,
of actions that he took towards you or statements that
he made to you that in your mind were misogynistic?
A. Yes. The fact that he always said to me
that I complained, And I would challenge him on that,
saying what do you mean, I'm giving you, like, what I'm
supposed to do with iny job. I am not just making a
statement, I'm giving solutions to what we can do here.
Q. Can you explain more clearly for us why

A. He never said to the guys, as much as they
were bitching and moaning about everything, not once
did he say that you are complaining. If] spoke up
about something he always put it in a negative light.

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A. True, but it was also directed at me with | 1
other comments. | 2 dishonest?
Q. Anything else? | 3 A. Yes.
A. Ican't recall in this moment. | 4
Q. Okay. I'm going to circle back to his | 5
uses of the word bitch because you testified previously | 6
that Mr. Mariano had also used that word in your 7
presence. 8
A. Correct. 9 explain his assessment.
Q. You testified earlier this morning that at 10
least at one of your other employment engagements, 11 to explain it?
somebody had used that word in your presence, correct? | 12
A. Correct, 13 you an assessment and not explain it. If it's
Q. So you know that the litera! definition of 14
bitch is a female dog? 15 job to correct that behavior.
A. Correct. 16
Q. But bitch also used in your experience to 117 manager should be doing, correct?
describe somebody who is very difficult to work with? 18 A. Absolutely.
A. Only females. 19
Q. What kind word in your experience do 20
people use to describe males who are difficult to work 21 honesty?
with? Are they called bastards or things like that? 22
A. Well, if you even look at The Plaza, I 23 about his honesty.
haven't heard any about men, it was just with the 24
females. 25
Page 103
Q. Isee. Because the men thought that the 1 A. His general reaction to me, yes.
men were always easier to work with in your experience? | 2 Q. Could you be more precise?
A. Apparently. 3
Q, Let me ask you about Johan Widnersson, 4
What was his position at the Palm Court? 5
A. He was the bar manager. 6
Q. And he was your direct superior, I think 7
you previously testified to that? 8
A. Correct. 9 was male?
Q. And he was the direct superior of all the 10 A. Absolutely.
bartenders? | 11
A. Yes. 12
Q. And at the time you were employed there, 13
there were four; am I correct? 14
A. Correct. 15
Q. Did Mr. Widnersson ever say or do anything 1
to you that caused you to question his honesty? 17
A. Well, definitely giving me the review he 18
gave me. 19
Q. We will talk about the review in due 20 you regarded that as misogynistic?
course. But just to make a note of it for our further 21
questioning, you felt it was a dishonest review; is 22
that your testimony? 23
A. Absolutely. 24
Q. Meaning that he put things in the review 25

 

. And it's your testimony that as far as you
yi Y y'

 

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] MR. HAESLOOP: Are we taking 1 A. I don't know.
2 a lunch break? 2 Q. Anything else that you may have recalled
3 MR. ROSEN: There are plenty 3 that you would like to share now?
4 of places right here on the street. 4 A. No. |
5 Yes. 5 Q. If! told you that Paige's last name was
6 MR. HAESLOOP;: Is there a 6 Rodriguez, would that refresh your memory as to what
7 cafeteria in the building? 7 her last name was?
8 MR. ROSEN: I don't believe 8 A. No.
9 so but when you walk out the front 9 Q. How did you find out about the position at
10 door and turn right there is a 10 The Plaza Hotel?
11 gazillion, which means there is more 11 A. Through Brian Van Flandern.
12 than two. 12 Q. And can you spell Brian's last name?
13 MR. HAESLOOP: I gathered 13 A. V-a-n, Flan -- F-l-a-n-d-e-r-a-n.
14 that, even though I've criticized 14 Q. And who is Brian Van Flandern?
15 your math earlier today, 15 A. He was the celebrity mixologist, the
| 16 MR. ROSEN: There is also a 16 consultant they brought on.
17 million places in Grand Station. 17 Q. For those of us who don't work in the
18 But, anyway. 18 industry, what is a celebrity mixologist?
19 THE VIDEOGRAPHER: Wearenow | 19 A. He goes and does a lot of media.
20 off the record. The time on the 20 Q. Is that the end of your answer?
| 21 video monitor is 1:15 p.m. 21 A. Yes.
22 (Luncheon recess.) 22 Q. What did he tell you about the position?
23 THE VIDEOGRAPHER: We now on _ | 23 A. He posted on Facebook that he was doing a
24 the record -- sorry. We are now on 24 new project, very high-end, looking for mixologists and
25 the record, the time on the video 25 Lreached out to him.
Page 123 Page 125
1 monitor is 2:03 p.m. ] Q. What were you doing at that point in time?
2 Q. Ms. Braunstein, just prior to our meal 2 Were you working?
3 break there were a number of things that I asked you 3 A. I don't remember.
4 about where you couldn't necessarily remember all the 4 Q. And after you applied for the position,
5 situations and I invited you if they came to your mind 5 were you interviewed?
6 at any point to let us know. 6 A. Yes.
7 A. Uh-huh. 7 Q. Do you recall by whom?
8 Q. Have you remembered anything that you did | 8 A. First by Brian then by Trevor Sherman and
9 not remember before lunch that you wanted to share with | 9 then I believe another day I met with Marty and George
10 us? 10 who is I believe the president of the hotel.
ll A. Yes, I would say pertaining to Roberto. 11 Q. The president of the hotel?
12 Q. And what about Roberto that you wanted to 12 A. I think, I don't remember his title.
13 tellus? 13 Q. And who is Trevor Sherman?
14 A. Specifically his honesty. | 14 A. That's Mr. Chatwal's right hand in this.
15 Q. Okay. And what is it about -- the 15 We asked for a specific title for him and he never
16 question is what did, in this instance, Roberto Rosa 16 would give it to us. He never showed us a business
17 say or do that caused you to question his honesty? 17 card and he didn't give us an officiai title.
18 A. Inthe paperwork from the EEOC that I 18 Q. Did you understand him to be an employee
19 received, there was an e-mail that I saw or one or two 19 of the hotel?
20 e-mails that I saw for the first time that I guess he 20 A. lundersiood him to work for Mr, Chatwal,
21 wrote to HR or maybe Marty, those were very dishonest | 21 the owner of the hotel.
22 about me. 22 Q. George Cozonis --
| 23 Q. In what regard? 23 A. Pardon?
24 A. Blatant lies of things I did. 24 Q. -- is that who you are talking about? |
25 | 25 A.

Q. And why do you believe he wrote such lies?

 

 

 

 

George, yes, that's his ast name. |

 

 

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A. First of all, where was Johan? He was
clocked in at work that day. He was supposed to sit
down with us. I did not get any feedback. Now, I have
also come to learn because of the EEOC that both
James Menite and Eddie Marini their reviews, the same
review I got, on the right-hand side got actual
feedback written in on anything marked negative on how
they can improve. I didn't get such feedback, and !
don't know what Roberto got because I wasn't given his
review. But we were not treated different -- we were
not treated the same just by them getting feedback that

And even Marty in his conversation, listen
to what he said to me. There was nothing in my job
performance. People seem to have negative reactions to
me, Who? Amin, who there was an issue with, that
Marty already apologized to me for; the girls who were
acting inappropriately as far as Marty heard, also.

Q. Does it show in your mind that Marty was

A. Well, he did refer to me as a bitch and he
chose to spell it because he knew it was a bad word.

 

 

 

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So that reflects that he is misogynistic?

Q. Anything else on the tape that you feel
reflects that he was misogynistic? |

A. When he was choosing to talk over me about —|
him saying that because other people told him I,
quote/unquote, disappearing from the bar, he goes into
this -- starts to go into a lecture about me telling
people and don't -- you know, if you are going to go to
the restroom, just tell people that you are going to be

And you hear me trying to speak up saying
that is not what is happening. I am not disappearing
from the bar. Both Eddie and James already spoke up to
Amin claiming every single time I step off this bar, as
silly as it sounds, if I had to go for snacks, the
special snacks we gave every guests that was very
special and made us five stars, I would say, I am going
for snacks. IfI had to go to the restroom, I would go
to the restroom. IfI was going for a bottle from a
certain cabinet, I would let them know every single
time so they didn't turn around and be like, whoa,
where is my backup and I am gone. That never happened

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withdraw it. 1 defendants?
Can you tell me, please, how you were able 2
to start the recording in the each of the two instances 3
that you recorded conversations without the other 4
person to the conversation knowing that you had done 5
so? 6
A. I started it and then | put it in my 7
pocket and then I went up to them. 8
Q. So they would not have even seen your 9
iPhone. It could be in your pocketbook -- or your 10
pocket, did you say? 11
A. Pocket. 12
Q. And with respect to both of the 13 I didn't get.
conversations. And I understand the distinction that 14
the second one was actually more than one conversation. | 15
It is series of conversations, that will be the 16
conversation. But for the first one, there is one 17
person that you are speaking with, correct? 18
A. Marty. 19
Q. Marty. 20 Absolutely.
Did you start the conversation with him 21
and end the conversation with him with the tape on at 22 misogynistic?
all times? 23
A. Yes. 24
Q. With respect to the second series of 25 Q. Is it on that tape?
Page 167
conversations, did you start the recording and end the 1 A. Yes.
recording when those series of conversations started 2 Q.
and ended? 3 A. I believe so.
A. Yes. 4
Q. So everything that was said to you in that 5
series of conversations and everything that you said to 6
them in that series of conversations is reflected in 7
the recording; am I correct? 8
A. Correct. 9
Q. And do you believe that those recordings 10
support your legal claims against the defendants? 11
MR. HAESLOOP: Objection to 12. awhile,
the form, but you can answer. 13
A. Yes. 14
Q. In what way? 15
A. Which recordings do you want to talk about 16
first? 17
Q. Let's start with Marty. 18
A, Well, Marty was supposed to be Johan, 19
Marty and I going over my review so I could get bullet 20
points or feedback from Johan about my performance, 21
which was requested verbally a couple of times and also | 22
in writing. 23
Q. And so can you explain, please, how that 24
25 with me. That is a blatant lie.

supports your claims, your legal claims against the

 

 

 

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Q. Would you agree with me that based on the 1 complaining about anyone else's conduct prior to
tapes, Marty never raised his voice to you during that 2 November 9, 2014, but after you started working there?
conversation? 3 A. Not to my immediate knowledge.

A. That's correct. 4 Q. Okay. And so and this particular e-mail

Q. Would you agree with me from the tapes 5 that you sent describes an incident involving you and a
that he listened to what you had to say? 6 tailor who was there, I guess, to provide alterations

A. Yes. 7 to your uniform jacket. Is that why you had contact

Q. I'm going to ask you about a series of 8 with the tailor?
documents and I will state for the record that most of 9 A. He made the uniform jackets for us and the
them are e-mails. And I will try to take them in a 10 dresses for the girls.
certain order, which is chronological. 11 MR. HAESLOOP: Okay. When

So what I'm going to show you now, what I 12 you say girls, who do you mean?
would like you to look at is what I've marked as 13 THE WITNESS: I'm sorry,
Defendant's Exhibit 6 for identification. Take a 14 cocktai! servers.
moment please. 15 Q. Or might have asked you mean the women,
For the record there are two e-mails here, 16 right?
one is dated Sunday, November 9, and it's an e-mail 17 A. Yes.
from you to Suzanne Paradi. And one is dated November | 18 Q. At the top of the page, you got a response
10, which is an e-mail from Suzanne Paradi to you. 19 from Ms. Paradi. And she says, quote, Good morning,
When you are finished reading it, I have a question to 20 Tina, I am sorry to hear this happened to you. We
ask you. 21 will certainly follow up with the tailor and ensure he
For the record, this e-mail 22 understands that those remarks and comments are
exchange was produced by your 23 unwelcome and inappropriate.
counsel. 24 Please let me know if there is anything
A. [know this. 25 else I can assist you, close quote.
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Q. When was the last time you read this l Do you consider that to be an appropriate
particular e-mail exchange? 2 response by someone from human resources?

A. I believe a couple of days ago. 3 A. Yes.

Q. So this is one of the things you reviewed 4 Q. Based on what she wrote, does it reflect
to prepare for your deposition, right? 5 that she had sensitivity to what you complained about?

A. Right. 6 A, Yes.

Q. Is it fair to say you reviewed all the 7 Q. Did the tailor who made these comments
documents that your attorney produced to my firm in 8 repeat them on another occasion after this e-mail
response to our document requests? 9 exchange?

A. [believe so. 10 A. No.

Q. And they included a lot of e-mails; isn't 11 Q. Okay. Thank you.
that right? 12 I'd like to show you an e-mail exchange

A, Yes. 13 that has been marked for identification as

Q. And my question to you is this, when you 14 Defendant's Exhibit 7. Take a moment, please, to look
started work on October 27, 2014, and this is dated 15 at that.

November 9, 2014, so that is a period by my 16 MR. HAESLOOP: Thank you.
calculations of two calender weeks. My question to you | 17 Q. For the record, these e-mails also were
is, is this the first time that you complained about 18 produced by your counsel.

anything that anyone said to you that you considered to 19 Are you ready for a question on the

be inappropriate or unprofessional to the best of your 20 document?

memory? 21 A. Yes.

A. Asan e-mail? 22 Q. Let me start by asking, were these e-mails

Q, Yeah, let's start with that. 23 also a part of the documents that you reviewed as part

A, Idon’t remember. 24 of your preparation for this deposition?

Q. Do you have any recollection about 25 A. Yes.

 

 

 

 

 

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Q. I would like to show you a document that
has been premarked for the identification as

This is the -- I guess at this point this
would have been your thirty-day introductory review.
Wouldn't you agree that if you started work on

really 90 days. Yeah, it's about 90 days. It's a
review and it's a review that was completed by Johan;

October 27, and then -- I'm sorry. Try again. It’s
Q. And he evaluates your overall performance
|
|

Q. And in that column in terms of behaviors,
where the question reads: Does the colleague
demonstrate such behavior -- and I guess it would be
the following behavior -- he has marked all the
following no. Respect for others, professionalism,
quality of work, productivity, positive attitude,
cooperative, accepts responsibility, reliability, team
player, leadership. And you did not agree with that

 

 

Page 20!
Q. And you said so on the form, correct?

Q. On the day that you received the form, and
I note that the date of the appraisal is
January 9, 2014, but if we look at your signature, it
looks like you signed it the day before,
January 8, 2015, did you actually have a conversation
with Johan about this review or did you just get handed

A. Hada conversation.
Q. Okay. And tell us as best as you remember
now what you said to him and what he said to you during

A. Johan, Brian Van Flandern and I were in
the room, in HR. He handed me this review and said he
had to go over it with me. And he went through just as

 

you did with giving yes and no. He added the yeses
where you didn't. And I said to him -- that was all he
said, and I said to him afterwards, I said, Johan, and

I pointed to this, and 1 said I don't know who you are
talking about here, I don't recognize this person, And

I asked him for feedback. And he wasn't giving me any.

And I said, no, no. You can't hand me a
review like this. I have never had one in my whole

1 Q. Do you know whether Ms. Paradi agreed with 1 sleep. I don't remember.
2 your statement that as another professional woman no 2
3 manager, especially a male saying to a female, should 3
4 tell her to grow up and stop being such a baby? 4 Defendant's Exhibit 12.
| 5 MR. HAESLOOP: Objection. You 5
| 6 can answer if you can. 6
7 A, J don't know. 7
8 Q. Did you ever ask her? 8
9 A. I don't remember. 9
10 Q. But in terms of the comment you felt it 10
11 was especially inappropriate because the person wha 11. amI correct?
12 uttered the comment was male and you were a female? 12 A. Yes.
13 I'm just looking at your e-mail to Ms. Paradi. 13
14 A. Yes. 14 as below, correct?
15 Q. But you would acknowledge that even a male 15 A. Yes.
16 saying it to man would be inappropriate, do you not? 16
|17 A. That didn't happen, it was just directed 17
18 towards me. 18
19 Q. And you were asking her for her agreement, 19
20 that she would agree as another professional woman that | 20
21 no manager, especially a male saying to a female should | 21
22 tell her. 22
23 So am I reading this correctly that you 23
24 agree that if a male manager said something like this 24 review; am I correct?
25 toamale employee, it would also be an inappropriate 25 A. Correct.
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1 statement to make? 1
2 MR. HAESLOOP: Objection, but 2 A. Yes.
3 you could answer. 3
4 A. I don't know that I can answer that 4
5 question. 5
6 Q. Then why did you write especially a male 6
7 saying it to a female? 7
8 A. Because his tone and saying it in the 8
9 manner he did was misogynistic. 9 this review?
10 Q. Correct. And then Suzanne Paradi wrote 10
11 less than an hour after your e-mail: Good afternoon, 1
12 Tina. Thank you for your e-mail. We will visit the 12
13 situation tomorrow once Amin back in the office -- [ 13 that conversation?
14 think she meant is back in the office -- and J will 14
15 follow up with you. Warm regards, Suzanne. 15
16 Did you think that was an appropriate | 16
17 response? 17
18 A. Yes, 18
19 MR. ROSEN: Thank you. 19
20 Q. Do you recall whether she circled back to 20
21 you-- I'm sorry, followed up with you on this matter? 21
22 A. She did not, I believe. 22
23 Q, When you say "not believe,” are you sure 23
24 she didn't or are you not so sure? 24
25

tw
tA

A. Iam apologizing. I am on zero minutes of

career anything like this before. And if you are going
SS

 

 

 

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to say this about me, you need to give me some 1 as ane-mail which you sent the day after you'd
direction. 2 received your review? As you put in detail your
Brian sat not saying a thing, Johan was 3 dissatisfaction with the review and recounted portions
holding the paper and shaking as he was reading this to 4 of the conversation that occurred when you received the
me. And finally he said something about me stocking 5 review? Is that a fair characterization of this
glassware, I wasn't fast enough at it and he was going 6 e-mail?
to show me how to do it better. 7 A. Yes. But I would state because it was
He made a second comment along those lines 8 fresh in my mind at the time when I typed this out,
and something I can’t remember but equally as 9 that this really was the depth of the feedback from
ridiculous. And that was -- and, again, I kept asking 10 him. Like this is what we discussed.
for feedback. He would not give me feedback. He said, | 11 Q. So what I was saying is the e-mail or to
you know, this is the review. He is just giving it to 12 put it in different words, the e-mail served two
me as he was told to do. 13. purposes. One was to allow you to expand in writing
{ was asking -- pardon me -- over and over 14 about your dissatisfaction with the review. That was
again. Finally I signed it the way I did. I do not 15 one purpose. And the other purpose was to highlight
agree with my review. Initialled it. Circled that. I 16 aspects of the conversation that you participated in
think I put the date and I may have the day wrong, I'm 17 during the review; is that correct?
not sure if it's the 8th or the 9th in this moment. 18 A. I wrote in because I needed a -- pardon
And then I said to him, I need a copy of 19 me-- aresponse for the negative review. Where I
this before I leave. And he goes, oh, shall I bring it 20 ended it, I expect to have a more accurate bullet point
to you at the bar, and I said, no, no, no. I want a 21 assessment from you.
copy now before I step out of the room. He stepped out | 22 Q. I'm glad you read from that sentence. By
of the room and he comes back and he hands me the copy.| 23 coincidence, I was able to read from it, too. And what
Q. Is this one of the documents that you 24 the actual full sentence says is, quote, I expect to
reviewed yesterday in preparation for your deposition? 25 have amore accurate, paren, bullet points, close paren
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A. I believe two days ago, yes. 1 assessment from you by the end of this week, so that I
Q. Just note for the record that there is not 2 may assess this troubling situation and figure out how
a Bates stamp number on this, which I believe, but 3 we can move forward from here, close quote.
could be mistaken, indicated this is not a document 4 And just to be clear, this is an e-mail
produced by your counsel. I just make that statement 5 you addressed to your immediate superior; am I correct?
on the record. 6 A. Correct.
But you have seen it before as recently as 7 Q. Can you see how someone reading this
this past week? 8 e-mail might find the tone inappropriate and
A. Correct. 9  insubordinate?
MR. HAESLOOP: IfI may be 10 MR. HAESLOOP: Objection.
heard, I believe we did enclose 11 A. Ithink someone should think I got a
it with our -- | 12 squashing review and I am asking for feedback. And I
MR. ROSEN: Like I said -- 13 am asking for it in a timely manner. I think that's
MR. HAESLOOP: January 26 14 fair.
response. 15 Q. That actually -- I'm not asking you what
MR. ROSEN: That may be the 16 you may have intended when you wrote it. I'm asking
case, like I said, that appeared | 17 you whether you could see how someone reading this
didn't know for sure. 18 e-mail might view your tone towards your manager, your
Q. In any event, I would like you to take a 19 superior as inappropriate and unprofessional and
look at Defense Exhibit 13. And this was an e-mail 20 insubordinate?
that was produced by your counsel. 21 MR. HAESLOOP: Objection, but
MR, HAESLOOP: Oh, I didn't | 22 you can answer,
get one. 23 A. No--[ don't think.
Get another one. Thanks. 24 Q. Can't see that?
Q. Is it fair if I characterize this e-mail 25 A. Ican't see that.
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Q. Yes. 1 for you. Because of that, you can try calling Harry
A. Then would it be harassing? 2 and speaking with him.
Q. Condescending? 3 Q. Who did you understand Harry to be?
A. Condescending. 4 A. Harry Riker from the union.
Q. Belittling, unprofessional, inappropriate, 5 And I said I have his number and I was
those were the adjectives I used. 6 going to be calling him. And] think that was
A. Ifthey could back it up that it was true 7 basically it, And then Sharon escorted me out.
with facts, and if management could also sit down with 8 Q. That's the security guard?
them and have a discussion and you all agree that that 9 A. The security guard.
is facts, then ] can say yes to that. 10 Q. Let me see if I can refresh your memory
Q. Okay. Thank you. 11 about the union thing that you really weren't clear on.
I show you a document that has been marked 12 You are aware, are you not that the hotel
for identification as Defendant's Exhibit 20. 13 is party to what is called a collective bargaining
A. Yes. 14 agreement, the union contract, if you will?
Q. Do you remember on what date you were 15 A. Yes.
informed that you were being terminated? Let's try it 16 Q. And that is with the hotel and motel trade
this way: Do you remember what day of the week it was?| 17 council, correct?
A. It was Friday, March 25, 2015. 18 A. Correct.
Q. And you wrote this e-mail to Mr. Mariano 19 Q. And assume it was explained to you by
and others the day after, correct? 20 one of the union reps that during a certain period of
A. Correct. 21 time after you start employment, you are subject to
Q. Soas best as you can remember, would you 22 what the contract calls a probationary period.
please tell us about the meeting at which you were 23 Did you know that?
terminated? Tell us what you could remember being said | 24 A. Ihave never seen the contract.
at that meeting. This is the meeting that was 25 Q. But was that what you were told?
Page 235 Page 237
recorded. 1 A, Yes.
A. Correct. 2 Q. And it was explained to you that ifan
Evan told me I was going to be let go. | 3 employee is terminated before he or she has completed
believe I asked him why and he quoted something from 4 the probationary period, then the union does not have
the union, blah, blah, blah, we don't have to because 5 the right to grieve the discharge or to contest the
of this clause -- whatever it is -- we don't have to 6 discharge, maybe the word grievance wasn't used. Does
give you a reason. 7 this sound right to you in terms of what you were told?
And then I believe I said something like, 8 A. No, I was told we were on a probation
well, let's talk then. And I went into the story about 9 period. I didn't know really the facts.
James being veraciously drunk March 1 at work, and his | 10 Q. So the explanation I'm giving you is not
behavior. And Evan asked me what does that have todo | 11 an explanation that the union gave you?
with you. And said, well, it has everything to do 12 A. The union never gave us an explanation. |
with me because you treat people here differently. And 13 hadn't seen the contract.
he said that's not true. 14 Q. Do you feel that the union did not
I said, yes, it was, that this is one of 15 properly represent you at your termination meeting?
the most misogynistic environments | have ever worked — 16 A. I don't know that they did.
before. And he said that's not true. And think I said 17 Q. But you didn't pursue anything legally
just because you say it's not true doesn't make it not 18 against the union, did you?
true. We've discussed this before. 19 A. No.
And if I remember correctly, at some point 20 Q. What was it about that termination meeting
Luigi spoke up, and he first said, I am not sure why I 21 that you regarded to be inappropriate or
am here, but I am glad to be invited. And he asked me 22 unprofessional?
when was your probation period. And I believe I said 23 A. The termination meeting?
it was going to end in two weeks. And he said, well, I 24 Q. Yes.
25

don't think there is anything we can really -- I can do

 

A. Well, first of all to keep me waiting for

 

 

 

 

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